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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
                                          )
In re:                                    )
                                          ) Chapter 11
Banyan Cay Resort & Golf, LLC, et al.1    )
                                          ) Case No. 23-12386
                                          )
                   Debtors.               ) (Jointly Administered)
_____________________________________ )


                      EMERGENCY MOTION
     TO SHORTEN TIME WITH RESPECT TO MOTION FOR ENTRY OF
 AN ORDER (A) AUTHORIZING THE DEBTORS TO ASSUME PURCHASE AND
SALE AGREEMENT WITH BANYAN CAY ESTATES, LLC, (B) COMPROMISING
 CONTROVERSIES THEREBETWEEN, AND (C) GRANTING RELATED RELIEF

                                    (Expedited Hearing Requested)

                                       Basis for Expedited Relief

                 The above-captioned debtors and debtors in possession
                 (the “Debtors”) and Banyan Cay Estates, LLC (“BC Estates” and
                 together with the Debtors, the “Parties”) request that the relief
                 requested in the Emergency Motion for Entry of an Order
                 (A) Authorizing the Debtors to Assume Purchase and Sale
                 Agreement with Banyan Cay Estates, LLC (B) Compromising
                 Controversy Therebetween, and (C) Granting Related Relief
                 [Docket No. 97] (the “Assumption Motion”) be heard on an
                 expedited basis at the hearing scheduled for April 28, 2023 at 1:30
                 p.m. The Parties respectfully submit that an expedited hearing on
                 the aforementioned relief is warranted because the assumption of the
                 Agreement (as defined in the Assumption Motion) is vital to the
                 Debtors’ proposed sale process, and the terms of the Postpetition
                 Amendment (as defined in the Assumption Motion) ought to be
                 considered in conjunction with the Debtors’ proposed amended Bid
                 Procedures (as defined in the Assumption Motion). The Debtors
                 submit that no party will be prejudiced by the entry of the Order,

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     The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan
     Cay Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay
     Maintenance, LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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               particularly in light of its consensual nature. The Debtors
               respectfully request that the Court waive the provisions of Rule
               9075-1(B) of the Local Rules, which require an affirmative
               statement that the Debtor has made a bona fide effort to resolve the
               issues raised in this expedited motion, as the relief requested herein
               is urgent in nature and does not lend itself to resolution in advance
               of a hearing.

       The Parties hereby respectfully move this Court (this “Motion”), by and through their

undersigned counsel, to shorten time to approve the relief requested in the Assumption Motion,

and in support thereof states:

                                           Background

       1.      The United States Bankruptcy Court for the Southern District of Florida

(the “Bankruptcy Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

The Debtors confirm their consent, pursuant to Rule 7008 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Bankruptcy Court in

connection with this Motion to the extent that it is later determined that the Bankruptcy Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       2.      On April 26, 2023, the Debtors filed the Assumption Motion requesting, inter alia,

that this Court approve the Debtors’ assumption of the Agreement.

       3.      Bankruptcy Rule 6006, which governs the procedures for assumption, rejection, or

assignment of an executory contract or unexpired lease, states that “[a] proceeding to assume,

reject, or assign an executory contract or unexpired lease, other than as part of a plan, is governed

by Rule 9014.” Rule 9014, which nominally governs contested matters, requires that “reasonable

notice and opportunity for hearing shall be afforded the party against whom relief is sought.”




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       4.      Bankruptcy Rule 9006(c) permits a bankruptcy court to shorten the time within

which a motion must be heard in its discretion.

                                         Basis for Relief

       5.      The Amended Bid Procedures (as defined in the Assumption Motion), filed

contemporaneously herewith, provide, in relevant part, that “Each Bid must include a statement,

consistent with Section 4.9 of the Stalking Horse Agreement, that at the Closing such Bidder shall

escrow $2,700,000 in immediately available funds for the sole purpose of the “Improvements” (as

defined therein and as explained in greater detail in [the Postpetition Amendment]”.

       6.      Moreover, as set forth in Exhibit E of the Order of this Court [Docket No. 94]

(the “Interim DIP Order”) approving the Debtors’ use of cash collateral an provision of debtor in

possession financing, the Court approved certain revised sale milestones, including the entry of

the Bidding Procedures Order (as defined therein) on or before April 28, 2023, subject to the Court

scheduling a hearing on the Bidding Procedures Motion on the earliest available date.

       7.      The relief requested in the Assumption Motion deals squarely with the above-

referenced provisions of the Amended Bid Procedures. Because the matters related to the

Assumption Motion and the Amended Bid Procedures substantially overlap, the Parties

respectfully request that this Court consider the Assumption Motion as soon as practicable. In so

doing, the Bankruptcy Court will obviate the need for extraneous hearings, streamline the Debtor’s

sale process, and ensure the revised sale milestones set forth in the Interim DIP Order are met.




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       8.      Because BC Estates and the Debtors have agreed to the terms of the assumption of

the Agreement, as set forth in the Postpetition Amendment, the Assumption Motion is consensual

and the Parties respectfully submit that no party in interest will be harmed by this Court’s expedited

consideration of the Assumption Motion.

                           [Remainder of Page Intentionally Left Blank]




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       WHEREFORE, the Parties respectfully request the Court enter an order, substantially in

the form attached as Exhibit A hereto, granting the relief requested herein.

 Dated: April 26, 2023

                                            Respectfully submitted,

                                             PACK LAW
                                             Proposed Counsel to the Debtors and
                                             Debtors-in-Possession
                                             51 Northeast 24th Street, Suite 108
                                             Miami, Florida 33137
                                             Telephone: (305) 916-4500

                                             By: /s/ Jessey J. Krehl
                                             Joseph A. Pack
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                      Exhibit A

                    Proposed Order
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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
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In re:                                    )
                                          ) Chapter 11
Banyan Cay Resort & Golf, LLC, et al.1    )
                                          ) Case No. 23-12386
                                          )
                   Debtors.               ) (Jointly Administered)
_____________________________________ )

               ORDER GRANTING EMERGENCY MOTION
     TO SHORTEN TIME WITH RESPECT TO MOTION FOR ENTRY OF
 AN ORDER (A) AUTHORIZING THE DEBTORS TO ASSUME PURCHASE AND
SALE AGREEMENT WITH BANYAN CAY ESTATES, LLC, (B) COMPROMISING
 CONTROVERSIES THEREBETWEEN, AND (C) GRANTING RELATED RELIEF

        THIS MATTER came before the Court on April 26, 2023 upon the above-captioned

debtors and debtors in possession’s (the “Debtors’”) Emergency Motion to Shorten Time with



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     The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan
     Cay Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay
     Maintenance, LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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Respect to Motion for Entry of an Order (A) Authorizing the Debtors to Assume Purchase and Sale

Agreement with Banyan Cay Estates, LLC, (B) Compromising Controversy Therebetween, and (C)

Granting Related Relief [Docket No. 98] (the “Motion”).2 The Court, having reviewed the Motion

and the record on the matter does ORDER as follows:

           1.       The Motion is GRANTED.

           2.       The time period for the hearing to assume the Agreement (as defined in the

Assumption Motion) is shortened, and the Court shall conduct the hearing on April 28, 2023 at

1:30 p.m. (EST), or such other dates and times that the Court may later direct.

           3.       The hearing on the Assumption Motion may be adjourned, from time to time,

without further notice to creditors or parties in interest other than by announcement of the

adjournment in open Court or on the Court’s docket.

                                                          ###

Submitted by:
Jessey Krehl, Esq.
Proposed Attorney for the Debtors and Debtors-in-Possession
Pack Law, P.A.
51 Northeast 24th Street, Suite 108
Miami, Florida 33137
Tel: 305-916-4500
Email: jesseu@packlaw.com

Attorney Jessey J. Krehl, Esq. is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF pursuant to applicable rules.




2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

                                                           2
